         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 1 of 25




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
Belmer (Deceased), et al.
                    Plaintiffs




                                                          Civil Action#l:OlCV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants

                           REPORT OF SPECIAL MASTER
                       PURSUANT TO ORDER OF REFERENCE
                     CONCERNING COUNTS XXV THROUGH XXVIU
                       ALVIN BURTON BELMER, GYSGT USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages fiom witnesses as below set forth. This is an action for wrongful death resulting fiom an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.

                                     FINDINGS OF FACT

              (1) Alvin Burton Belmer was born on March 10, 1954 in the United States of
America and was at birth and remained until his death, a citizen of the United States. Soon after
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 2 of 25




completing the eleventh grade at Austin High School in Chicago, Illinois, Mr. Alvin Burton Belmer

joined the United States Marine Corps and on October 23, 1983 was a member of the 24mMAU,

First Battalion, 8&Regiment.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 24 1 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Alvin Burton Belmer, suffered severe injuries

which resulted in his death afier seven days and 20 hours of enduring his body processing painful

stimuli. The evidence showed that Alvin Belmer suffered pain fiom his wounds and was

responsive to pain for 7 days and 20 hours. Alvin Burton Belmer was removed fiom the building

rubble two and one-half hours after the explosion and admitted to the American University Medical

Center where he died from the wounds and complications fkom the wounds at 5:30 A.M. on

October 30, 1983. The official death certificate, DD Form 1300 - Report of Casualty, admitted as
Exhibit 1, indicates that Alvin Belmer survived the explosion but died fiom "cardiac arrest

resulting fiom injuries sustained in the terrorist attack on the BLT Headquarters on 230CT83."

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983. The

evidence showed that at the time of the terrorist attack the decedent, Alvin Burton Belmer, was in

the building, survived the explosion, suffered severe injuries in the explosion, was buried alive in

the building rubble, was located and rescued and transported to the American University Medical

Center in Beirut, Lebanon.




                                            Page 2 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 3 of 25




       (5) The records available and the testimony of witnesses indicate that prior to death, the

decedent endured bodily pain or suffering. The evidence of bodily pain andlor suffering includes

medical records (Exhibit 14) and the testimony of a Board Certified Pathologist, Dr. Gregory Allen

Threattle. The medical records were secured through the United States Department of State and the

Navy Medical Service, and these governmental entities confirmed that Group Exhibit 14 is the

actual medical records of Alvin Burton Belmer. The details contained in Group Exhibit 14 are in

complete agreement with the official service death certificate, Exhibit 1. The testimony of Dr.

Gregory Allen Threattle, a Board Certified Pathologist, indicated that he reviewed Group Exhibit

14, the medical records of Alvin Burton Belmer and he testified that those records clearly indicate

that Alvin Burton Belmer's body processed painful stimuli, and that Alvin Burton Belmer

"purposefully responded to pain" for 188 hours. The testimony of Dr. Threattle indicated that

Alvin Belmer was fighting his respirator for the hours before his death. Dr. Threattle indicated that

he has seen many similar and even some worse cranial injuries where with proper treatment the

patient survived.

       (6) As a result of the death of Alvin Burton Belmer, his estate suffered a loss of accretions

to the estate which could have been expected to occur during the course of his anticipated life.

These losses are the subject of a report under oath &om Dr. Jerome Paige and are supported by Dr.

Paige's testimony given by videotape. They have been reduced by Dr. Paige to present value in

accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App. 1979). Based upon the

foregoing, the amount of loss to the estate is in the amount of $884,746.00.

           a) Specifically, Dr. Gregory Allen Threattle testimony which has been submitted as

           Disk 1, has qualified Dr. Threattle as an expert in these proceedings. Dr. Threattle has

           been Board Certified since 1979 and he has extensive experience in both anatomic and



                                             Page 3 of 25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 4 of 25




          clinical pathology. Dr. Threattle is a medical professor and supervises the pathology

          department in the Upstate Medical Center in Syracuse, New York. Dr. Threattle

          testified that the medical center processes over one million tests per year and that he has

          extensive experience and is qualified as an expert in both anatomic and clinical

          pathology.

          b) Dr. Threattle reviewed Group Exhibit 14 and was able to provide an expert medical

          opinion on the wounds Alvin Burton Belmer received and the pain and suffering he

          experienced.

          c) Dr. Threattle testified that Group Exhibit 14 evidences that Alvin Burton Belmer

          was approximately 30 years old at the time of his emergency admission and that he had

          multiple contusions to the head and face. His ear was tom off and his right eye was

          severely damaged, he had a skull fracture to the left side of his head and air was

          detected in hls skull. Alvin Burton Belmer was unconscious but was purposefully

           responsive to pain. Dr. Threattle testified that Exhibit 14 evidences that Alvin Burton

          Belmer's brain was processing pain, fought or attempted to evade pain for 7 days and 20

           hours (188 hours) until his death on October 30, 1983 at 5:30 A.M.

       (7) As the result of the death of Alvin Burton Belmer, his wife, his child, his parents and his

surviving siblings have suffered and will continue to suffer severe mental anguish and the loss of

society. The testimony established that Faye A. Belmer, decedent's wife, has never recovered fiom

the shock of her husband's death. Likewise the decedent's parents, Luddie Belmer and Alue

Belmer suffered severe emotional trauma their son's death in Beirut. They are participants in

various memorial programs for the vi~timsof O~tober23, 1983 and are vigorous           supporters of
those programs. They are joined in this undertaking by decedent's surviving siblings and child.




                                            Page 4 of 25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 5 of 25




       ESTATE OF ALVIN BURTON BELMER                       - Alvin Burton Belrner joined   the United

States Marine Corps at age 17. His brothers testified that Alvin met a fiend of Clarence Belmer

when Alvin was 15 or 16. This fiend of Clarence Belmer was in the Army. Alvin Belmer decided

then that he would join the military. Alvin Belmer completed High School through the 1lm grade

and subsequently earned his GED certificate. Alvin Belmer told his parents that his motivation for

joining the Marines was to be able to travel and experience other things. His parents signed the

required papers to allow their son to enlist at age 17. Alvin Belmer loved the Marines and he was

promoted to the highest enlisted rank in the Marine Corps, Gunnery Sergeant. Alvin Belmer

intended to retire fiom the Marine Corps and look into police work.

       Every member of the Belmer family testified that Alvin Burton Belmer was a good, loving,

thoughtfbl and caring person.

       FAYE A. BELMER, decedent's widow, testified that she was married to Alvin Burton

Belmer on July 25, 1975 in Jacksonville, North Carolina. Alvin and Faye Belmer had one son,

Colby Keith Belmer. Faye Belmer said that Alvin Belmer planned to stay with the Marine Corp for

twenty-five years and then retire. They planned to travel aRer he retired and talked of many things

they would do. Faye Belmer was never married again.

       Fay Belmer testified that Alvin was apprehensive about going to Beirut, Lebanon, but that

he knew it was his job and he had to go. Alvin Belmer wrote letters every week and was able to

call two times from Beirut. The telephone calls were difficult to hear and they got cut off during

conversations. Alvin Belmer did not say much about what he was doing in Beirut, he did not want

to worry his family.

       Faye Belmer found out about the terrorist bombing in Beirut when she was awakened by a

telephone call fiom Alvin's Aunt. Alvin's Aunt told Faye Belmer to turn on the television and that




                                            Page 5 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 6 of 25




was the first she heard of it. When she turned on the television she saw the building almost

cmmbled to the ground. That night a Marine came to the house and said they could not find Alvin

Belmer but the building that was bombed was the building that he was sleeping in at the time. The

next day or some days later a Marine Chaplin came to the house and told Faye Belrner they had

found Alvin Belrner's body. Faye Belmer saw the building was a pile of rubble on the ground.

One day later the Chaplain visited Faye Belmer and told her they found her husband. Faye told her

son Colby what had happened to his father but it was hard to explain to the 13-year-old boy. Faye

Belmer was too emotional to explain the devastating affect of Alvin's death on their son.

       Faye Belmer was overcome with sadness when she was asked about her memory of the

funeral, She was unable to testify about the funeral in detail but did mention that there was a

viewing in Chicago and he is buried in Arlington National Cemetery. Faye Belmer only remembers

these times as sad times. She thought it would be easier to move on but it hasn't been easy, and she

hasn't moved on.

       Faye Belmer did not work outside the home at the time of Alvin Belmer's death. Faye

Belmer was unable work after Alvin's death for five years. After her husband's death, Faye

Belmer and her son moved back to Virginia Beach, Virginia to be near her family. She testified

that she was unable to "get out of the house for 5 years." Faye Belmer did finally seek employment

and is currently employed. Colby Keith Belmer testified that after the death of his father his

mother became an introvert, rarely leaving her room. Mrs. Belmer lives with her son in Virginia

Beach, Virginia.

       Faye Belmer did not attend the liability hearing in this case.




                                             Page 6 of25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 7 of 25




       Faye Belrner described her husband's relationship with their son as good. When Alvin was

not working he and his son would play ball and go places in the car together. Faye said that Alvin

loved the Marines and he loved his job.

       Faye Belmer testified that it has never gotten easier and she thought it would. She never

joined or had contact with any support groups because she thought she could handle her husband's

death. Faye Belmer wants to know "why did they do this?" She wishes she could get her husband

back but she knows that is not going to happen. "They should pay for what they did."

       COLBY KEITH BELMER, the decedent's son, was born on September 19, 1970 in

Norfolk, Virginia. He testified that he was thirteen years old when his father died. Colby Belmer

has an 11' grade education and has earned his GED certificate. Colby Belmer currently lives in

Virginia Beach, Virginia, with his mother and his four children.

       Colby Keith Belmer had a close relationship with his father and when his father was not

working he spent time with his father playing ball and doing father son things. Colby Keith Belmer

was proud of his father and proud that hts father was a Marine. The decedent, Alvin Burton

Belmer, took Colby Keith Belmer to cookouts with his Marine fiiends. Colby Keith Belrner saw

that the Marines were a tight family and his father had many fiiends. Colby Keith Belmer knew that

his father loved his job. Colby Keith Belmer shared early recollections about his father and testified

that when he was 7 years old the family lived in South Carolina. His father loved the Marines and

he was proud of his father. He remembers the Marines were a tight family and he remembers his

father's unit visited their home often and he remembers going to his father's unit cookouts. Colby

Keith Belmer testified that he met many men who served under his father and they loved him.

        In October 1983, Colby Keith Belmer was in school, he remembers letters from his father

from Beirut, sometimes with money. Colby Keith Belmer is sorry he never got to speak to his



                                             Page 7 of 25
          Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 8 of 25




father in Beirut, but he remembers his mother getting letters. His recalls that his father didn't

discuss his Beirut assignment. Colby Keith Belmer knew this was different and he knew this

assignment was different. He recalls that his father was quiet, before this deployment to Beirut,

and his father spent extra time with his wife prior to this deployment.

       When Colby Keith Belrner's father left for Beirut Colby knew it was different than when

his father had gone on trips in the past. His father was quiet and spent a lot of time with hls mother

before he left. In retrospect Colby thinks his father maybe knew he was not coming back.

       At age 13, Colby Keith Belmer knew about Lebanon but he didn't know how serious it was,

he didn't lcnow what was happening. He remembers October 23, 1983; he remembers the news

stories and how hs teachers were always asking him "how are you doing". Colby Keith Belmer

was apprehensive about his father's deployment to Beirut, and he recalls "totally different vibes"

and now thinks that it was an indication that his father was not coming back from this assignment;

"it was different."

       Colby Keith Belmer remembers when the Marine came to the house to tell his mother that

his father was killed. He was in his bedroom but he heard his mother crying, she "lost it, totally

lost it." Colby's mother was close to taking her own life. Colby Keith Belmer first learned of the

attack from television, his mother, and from teachers at school. Teachers repeatedly asked how he

was doing and gave him more attention than they normally did.

       Before Alvin Burton Belmer died he and Colby's mother went out ofien and were a fun

loving couple. Colby Belmer recalls the Belmer house as the place where many friends and family

visited. The death of his father changed his mother and their lives forever. After hls father died his

mother became an introvert, she became     a whole different person. Colby Keith Belmer's     mother




                                             Page 8 of 25
          Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 9 of 25




was on medication and "you wouldn't know it was the same lady." Colby's mother never really

recovered.

       Colby Keith Belmer went to his father's funeral and burial at Arlington National Cemetery.

Colby had been strong up until that point but he could not hold back anymore and he lost it at the

b e r a l . Colby Keith Belmer has gone through life "like in a tunnel and you can see the light but

can't get to it." He thinks of his father every day and how different life would have been for his

mother had his father lived.
       With his father gone and his mother an introvert, Colby Keith Belmer had to watch out for

his mother. Without a father he admits he probably got into things that he would not have gotten

into had his father been alive. His fiiends all had fathers that they trained with and he did not. His

mother never left the house so Colby Keith Belmer did things on his own.

       Colby Keith Belmer has four children that will never know their grandfather. Colby wishes

his father were here to see his grandchildren.

       Colby Keith Belmer wants to send a message that the terrorists hurt he and his mother "real

bad." He has been through a lot of pain and he is still going through pain. The terrorists do not

care about human life and Colby Keith Belmer is angry. He feels Iran hurt him and the Belmer

h i l y , caused him pain, and it is still causing him pain. After father passed, he feels the military

forgot about the Belmer family. He had a scholarship from the Marines, but the Marines wouldn't

help with the scholarship. He is sad that his father will never be able to visit with his four

grandchildren. He feels this litigation is part of history and he wants to be a part of it.

       MRS. LUDDIE BELMER, the decedent's mother, testified that she is retired and had been

employed with Skychef at O'Hare Field, Chicago, Illinois. Luddie was married to Mr. Alue

Belmer and they had six children. Son Alvin Belmer born in 1954 in Chicago, Illinois. Alvin was



                                               Page 9 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 10 of 25




a typical kid, very thoughtful and kind person. During his teenage years Alvin Belmer always held

an after school job whle attending Austin High School. Alvin never got into any trouble. Alvin

Belmer's interests while growing up included basketball, and a little football in grade school. In

high school he was on the swim team. Alvin did not graduate but finished the llmgrade. Alvin

Belmer had a very close relationship with his brothers, Clarence and Kenneth, and she thought he

had more honest conversations with them about his Marines experiences and the risks of the Beirut

assignment.

       Alvin first expressed some interest in joining the Marines about four months before he

joined the Marine Corps. Alvin joined the Marine Corps so that he could travel and do different

things, to give him a better prospect in life. Alvin joined the Marines in 1971, during the Vietnam

War. Alvin Belmer did his basic training at Camp Pendleton, California. After basic training

Alvin Belmer was a Drill Sergeant at Camp LeJune, North Carolina. Alvin was proud to be a

Marine. Alvin Belrner was assigned to a base in South Carolina and overseas in Europe. In 1983

Alvin Belmer had obtained the rank of Gunnery Sergeant. Alvin spoke most to his brothers about

what he did in the Marine Corps. Alvin wanted to stay in the Marines as a career.

       Mrs. Luddie Belmer is the executor of Alvin Belmer's Estate and was granted such status

by the Circuit Court of Cook County, Illinois. Alvin Belmer is buried in Arlington National

Cemetery. Alvin Bulmer's funeral was held November 9, 1983.

       Mrs. Luddie Belrner and the family received many letters from Alvin Bulrner expressing his

love for the family and apologizing for not writing more letters. In a letter dated September 1983

Alvin described the bombings in Beirut, Lebanon. Alvin said that the television news media,

including the Chicago Tribune, were doing interviews but that he did not want to speak to them
because he would have had to lie and make it sound good. Alvin told of Marine friends that had




                                           Page 10 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 11 of 25




been killed. Alvin Belmer attempted to assure his family that nothing was going to happen to him
but he did comment that his assignment in Beirut was not like they planned for and the combatants

in Beirut were sick people. Ths letter was the last letter that Luddie Belmer received from Alvin.

Mrs. Luddie Belmer was able to reach Alvin Belmer by telephone in the early part of October

1983, the Sunday before the bombing. During that conversation Alvin did not say too much about

what was happening in Beirut, the telephone call was mostly small talk but they both said they

loved each other. Alvin did not tell his mother what h s exact job was in Beirut but Luddie Belmer

learned he was out in the field. Mrs. Belmer felt Alvin was holding back information because he

did not want to worry her or the family. This was the last conversation Mrs. Belmer had with her

son.

       When Luddie Belmer heard about the attack in Beirut it was about twelve o'clock, she woke

up crying at the time of the bombing, she felt "real discomfort." She went back to sleep because

nothing appeared to be wrong, she knows now that she awakened when the terrorists detonated the

explosive truck. Mrs. Belmer went to work and her employer and co-workers did not mention the

bombing. Luddie Belmer's sister called her family and told her family not to mention anythng to

her about it. The same request was made of her co-workers. Mrs. Belmer arrived home about 2:30

P.M.and that is when Mrs. Belmer heard about the bombing. Mrs. Belmer called her daughter-in-
law, Faye Belrner, and they exchanged information on a daily basis. Kenneth Belmer testified that

his mother was in contact with the Red Cross trying to get information. Each day a Marine came

by the family to say the Alvin Bulmer was missing. During the week of uncertainty Luddie Belmer

paced around the house. The children tried to keep their sorrow and emotions under control

because they knew their mother was nervous.




                                          Page 11 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 12 of 25




       On Monday, October 24' the Belmer family was told that Alvin Belmer was missing, they

watched television and hoped every survivor they found was Alvin. On Wednesday the Marines

said they had found Alvin, he survived the explosion and was in a hospital in Beirut in fair

condition. The Belrner family was receiving information fiom several sources. Later in the week

they learned that Alvin was unconscious, in a coma, and on life-support. On October 3 0 the
                                                                                        ~

Belmer family learned that Alvin had died. He never regained consciousness. Faye Belrner called

Luddie Belmer as soon as the Marine and Marine Chaplin left her house. It was three o"c1ock in

the morning on Sunday when told she that her husband was gone.

       Losing Alvin was the "most hurting feeling you could ever have." First you do not believe

it then the truth "comes in on YOU."Luddie Belmer said it shocked her body and everything. It was

devastating. "The loss messed her family and her up." The hurt is all over your body and mind.

Luddie Belmer said it changed her, you do not feel the same anymore, and she could not get it out

of her mind. The years of hurt ruined her nerves and her mind. This was happening to all members

of the family. Annette Belmer testified that Luddie Belmer suffered a nervous breakdown and was

hospitalized and Luddie Belrner was unable to return to work for 8 or 9 months. Luddie Belrner

was unable to speak to her children about her feelings, and for 4 or 5 years, she hid all the pictures

of her son. Luddie Belmer's children didn't discuss Alvin's loss because neither their father nor

mother was able to discuss their feelings. Since October 1983, Luddie Belmer has continuously

seen doctors including a psychiatrist for treatment of her nerves. She is still, 21 years later, under

professional care and takes medication to assist her to overcome the effects of the death of her son.

       Alvin Belmer was brought to the United States on November 7~or 8' 1983 after he died on

October 30, 1983. The service in Chicago was at a funeral home. The funeral was simple with

people gving eulogies. The military honored Alvin Belmer outside of the h e r d home with a




                                            Page 12 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 13 of 25




military dnll. The next morning the family went to Washington and Alvin was buried in Arlington

National Cemetery on November 10, 1983. At Arlington National Cemetery there was a salute and

words said. Luddie Belmer was given the flag.

       Mrs. Luddie Belmer has not been not active with any memorial groups like "No Greater

Love." She received invitations but she never responded even though she planned to do so.

       The emotional affect is with Luddie Belmer and her family even today. "You do get a little

better but it stays with you a long time, it will never go away." Luddie Belmer hopes that this

litigation will bring justice and that they will be compensated for the pain and suffering they

received. Mrs. Belmer would like the message to Iran to be that although you cannot bring them

back it was such a horrendous thing that happened there and they want justice and want all the

families to be compensated for all the pain they have suffered. This was a devastating thing to her

and her family so much so that she has continued to see doctors and the medicine did not work.

She had to go to a psychiatrist and get medicine to help her shattered nerves. She will never be the

same and has to live with this, that is it. Mrs. Belmer continues to be under doctors' care and has

been since 1992.

       MR. ALUE BELMER,decedent's father, testified that he lives in Chicago Illinois and is

married to Luddie Belmer. Mr. Alue Belmer is retired and a citizen of the United States. Mr.

Belmer and Luddie Belmer had six children, including Alvin Belmer. Mr. Alue Belmer is a quiet

man. He testified that talking about his son brings back difficult memories. He recalled his son as

having no problems as a child and said that he liked swimming. Alue Belmer fi,uther testified that

his sons had a very close relationship and that all his children looked up to Alvin.

       Alvin Belmer was a good boy. He did not finish high school because he went into the

Marines at age seventeen. Alvin loved the Marine Corps.




                                             Page 13 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 14 of 25




       Alue Belmer recalled the last day of his son's leave before returning to North Carolina and

his deployment to Lebanon. He stated that his son didn't want to go, but lcnew he had to go. That

was the last time Alue Belmer ever spoke to his son.

       Mr. Alue Belmer was watching television at a friend's house October 23, 1983 when he

learned about the attack in Beirut, Lebanon. Mr. Belmer told his fiiend that that was where his son

was stationed. The last time Mr. Belmer saw his son was when he left for North Carolina before

going to Beirut.

       Marines did not contact Mr. Belmer aRer the attack; they just contacted Alvin's wife. The

next thing Mr. Belmer knew was when he was called at his job and told that his son was alive.

Some days later Mr. Belmer was told that his son had died. The death of his son was terrible and

affected him and his wife. "It says it all to see your son in a casket." Mr. Belrner never saw a

doctor he just worked all he could instead of sitting around the house. Mr. Alue Belmer suffered a

deep hurt with the loss of his eldest son but he knew that he just had to keep going. ARer the

funeral he did not want to stay around the house and he went back to work. His wife, Luddie

Belmer has never been the same. Alvin was the oldest son and a role model for the rest of the

children. All the other children looked up to Alvin.

       Mr. Alue Belmer would like to tell the leaders of Iran that, as his son Alvin said, they are all

crazy, their children are crazy. There is not much that you can say to them because they are crazy.

No one can bring Alvin back.

       MR. CLARENCE BELMER, decedent's brother, testified that he lives in Chicago and

was born February 2, 1956. Alvin Belmer was two years older than Clarence. Alvin Belmer was

very close with Clarence, they played ball together, they did everyhng together. They were best




                                             Page 14 of25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 15 of 25




fiiends. Alvin decided to join the Marines because a cousin joined the Army. Clarence was very

supportive of his brother joining the Marines.
       Alvin Belmer always keeps his family informed on where he was posted. When he was

sent to Beirut it was about a couple months before the bombing. Clarence spoke to Alvin regularly.

Alvin said people were shooting and could not shoot back because it was a peace mission and they

did not have any ammo.

       The whole family was worried but believed Alvin could handle himself Alvin was a real

Marine. Clarence spoke to Alvin Belmer the Sunday before the explosion. Clarence told Alvin to

take care of himself "Do what you have to do."

       Clarence was asleep and woke up at the moment of the bombing and turned the television

on and saw the bombing. It took awhile to find out if Alvin Belmer was alive or dead. Clarence's

mother, Luddie Belmer, was trying to find out what had happened to Alvin. Someone in the fmily

even tried to call the President of the United States to find out information. The family was first

told he was missing in action, then they were told he was in a hospital in Beirut, and then they were
told Alvin was dead. Clarence was at work when he was told that his brother Alvin died. Clarence

felt that his brother was dead fiom the moment he woke fiom sleep at the time of the bombing.

        Clarence has four children, three of which knew their Uncle Alvin. He has told them about

their uncle. Clarence discussed his brother, their Uncle Al, with his children as often as he can.

        The funeral arrangements for Alvin Belmer were handled by his Aunt, Ruby Jackson,

because his mother could not handle it. Clarence went to the visitation several times and on one

occasion Clarence picked h s brother up fiom the casket. He had to see what happened. It looked

like his brains were gone, it looked like they were taken out. Clarence had to pull himself together




                                             Page 15 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 16 of 25




emotionally. The Marines gave Alvin a beautifbl h e r a l . It was complete with twenty-one-gun

salute. Alvin's friends were there as were lots of people.

       Clarence tried to commit suicide twice. He does not know why. The.firsttime was about a

year aRer his brother's death. Clarence felt he did not have anythmg else to live for, Alvin was his

"ace goom-boom." Clarence was hospitalized for twenty-one days. Clarence's children came to

see him after he tried to committee suicide. Clarence went to a doctor and he has been on

medication ever since. Clarence has not been able to work since his brother died Clarence has

been involved with drug abuse and not been able to do anything since his brother died. He would

not have been involved with drugs if his brother were alive. Alvin was his strength.

       Alvin would certainly have been a part of his niece's and nephew's lives. Alvin was there

when three of them were born. If Alvin had lived Clarence's life and the lives of his children

would have been very different.

       If given the chance, Clarence would ask the Islamic Republic of Iran, "why?"           Their

terrorism affected many people's lives. People should be compensated. Even though they cannot

punish the Islamic Republic of Iran they should still be compensated.

       MR. KENNETH BELMER, the decedent's brother, testified that he lives in Chicago,

Illinois. Mr. Belmer is unemployed at the time. Mr. Belmer has one son that is around 26 years old

now so he would have been about five at the time of the bombing. Kenneth and Alvin Belmer are

about two years apart.

       Alvin Belrner was a loving brother and a caring brother. Alvin was a mentor to Kenneth.

They would go bowling and shoot pool. Alvin loved to backyard BBQ. Alvin Belmer did pretty

well in school. He was well liked. Alvin worked at Kentucky Fried Chicken when in high School.

People that Alvin worked with really liked him. Alvin Belmer went into the Marines because he



                                             Page 16 of25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 17 of 25




had a fi-iendwho was in the Army and we wanted to join the military. Due to his young age, the

Belmer parents had to sign for Alvin to join the Marines. They were very proud that Alvin was a

Marine and proud that he had been promoted to Gunnery Sergeant, the highest enlisted rank in the

Marine Corps.

       Alvin Belmer told Kenneth that Marine boot camp was hell. Alvin was a Gunnery Sergeant

in the Marines. Alvin was proud to be a Gunnery Sergeant. He described how he drilled his

troops. Alvin Belrner would entertain the recruits he trained because he was proud of them. Alvin

Belmer was the oldest in the family. Alvin was looked up to in the family and a role model. Alvin

treated the Marines like a family. Alvin treated everyone fairly and nice, he did not give anyone

special treatment.

       In 1983, Alvin Belmer was training to be deployed. He was stationed at Camp LeJune in

North Carolina at the time. Alvin was aware that he was being shipped out and described it as

"going to war, going to fight."

       When Alvin Belmer wrote his family from Beirut he said he could not wait to get back

home to BBQ and relax. Alvin did not want to worry his mother so he may have held back

information regarding the conditions in Beirut.

       October 23, 1983, was a Sunday and Kenneth Belmer was at work at Jocelyn Steel in

Franklin Park, Illinois. Kenneth worked long shifts. Kenneth was in the habit of visiting his Aunt

in Maywood, Illinois, after work. That night Kenneth got word on the bombing from his Aunt.

Kenneth stopped by his Aunt's house after work, other family members were there and the mood

was very gloomy. Kenneth asked what was going on and was told that there was a bombing in his

brother's Marine barracks. Everyone was devastated. Kenneth is still crying now. All the family
was in shock. Luddie Belmer was in touch with the Red Cross trying to get information. They




                                            Page 17 of 25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 18 of 25




heard Alvin was buried in the rubble and taken to a Beirut Hospital. At the memorial service at

Midway Airport, Chicago, Illinois, the family spoke to a man that saw Alvin before the bombing

and said he had gotten up to go to the bathroom.

       Kenneth Belrner viewed the remains at the funeral home in Chicago, Illinois and Kenneth

was present at the funeral service in Chicago. All family members and fiends were at the funeral.

The loss of his brother was hard to accept. Luddie Belmer nearly had a nervous breakdown.

Kenneth's father found it hard to accept. Alue Belmer was very hurt and Kenneth saw him crying.

Alue was very upset. Alue would walk around the house and swear asking why did this have to

happen. Kenneth did not go to Arlington National Cemetery at the time because he could not

handle it. Years later Kenneth went on a bus to visit Alvin's gravesite at Arlington National

Cemetery. Kenneth brought flowers and an American flag. He went to the grave and sat down and

talked to his brother for a long time before he returned to the hotel.

       Alvin Belmer's death affected Kenneth deeply, his brother was his mentor. Kenneth still

misses Alvin. The death put a lot of emotional strain on Kenneth. Kenneth still thinks of Alvin all

the time. Kenneth tries to keep the loss of his brother from taking him down. The Belmer family is

very close. The hurt from the loss of Alvin is still there inside Kenneth. Kenneth attended the

twenty-year memorial service and it affected Kenneth so much he was crying. The loss will affect

Kenneth for the rest of his life; that is how much he loves his brother. Kenneth is a very sensitive

person so he shows his emotion. Other family members may be more guarded about showing their

emotions.

        Kenneth Belmer has one son. He was very young at the time of Alvin's death. He has seen

pictures of his uncle. Kenneth's son spent four years in the Navy.




                                              Page 18 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 19 of 25




       Kenneth Belmer would tell the Islamic Republic of Iran that he knows that you cannot bring

his brother back so there is no "eye for an eye" but he wishes he could turn back the hands of time

so that this never happened. Kenneth Belmer would like for he and his other family member to be

compensated for the whole incident and for all the pain and suffering they have gone through as a

result of the bombing.

       MS. ANNETTE BELMER, the decedent's sister, testified that she lives in Maywood,

Illinois, and was born April 15, 1958. She is currently employed with the Chicago Transit

Authority as a bus driver. Annette completed the 1lth grade. Annette and Alvin were pretty close.

She even stayed with him for a while and they "got on very good."

       The brothers were very close: Alvin, Clarence and Kenneth. They did a lot of thing and

they went a lot of places together.

       Annette knew Faye Belmer and they were close. Annette Belmer stayed with Faye and

Alvin and babysat for their son Colby when they were living in Illinois. Annette lived with her

brother for about one year when living in Maywood, Illinois. She knew first hand that Alvin and

Faye were very close. At the time Annette Belrner had two children, when Alvin died Annette had

three children and she went on to have a fourth child after Alvin died.

       Annette Belmer spoke to Alvin Belmer about a week before the bombing. On the day of the

bombing Annette was home, she was not paying attention. When she realized what was happening

she prayed that he was not hurt. Annette then learned more information about her brother two days

later. They heard he was in the explosion and that Alvin was in the hospital in Beirut, Lebanon,

and still alive. Then Annette heard Alvin was in fair condition and still alive. Then the family was

told he would be okay. Then they were told he was in a coma. All Annette's information came

fiom her mother.




                                            Page 19 of 25
        Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 20 of 25




       Annette Belmer then heard that her brother died from his injuries. Annette heard about her

brother's death on October 30, 1983. Annette was grateful that when Alvin died he was in a coma

and prayed ~t he did not suffer too much The news of her brother's death affected her really bad.

She is sony that he had to go that way. Annette's mother had a nervous breakdown and never told

anyone. Annette knew. The entire family was praying Alvin was alive. Annette was living at

home at the time with her parents. The entire family took Alvin's death hard, especially Donna.

       Annette thinks about it all the time and the things they used to do. When she was staying at

his house her brother loved company and entertaining. Whenever Alvin was not working he liked

to be around fiiends and family.

       Annette's mother, Luddie, had a nervous breakdown and was in the hospital. Annette's

father, Alue, just acts tough but he was really deeply affected by Alvin's death. Luddie Belmer put

away all Alvin's pictures and the flag given to her at the funeral until Annette's Aunt told her to

bring them back out.

       Annette Belmer has four children, three of which were born while Alvin was alive. Annette

Belmer's first two children where born when Annette lived with Alvin for the year in Maywood,

Illinois. Alvin loved children and would have had a close relationship with Annette's children.

Annette's oldest son Eric probably would have followed his uncle into the Marines.

       Annette Belmer does not know what to say to the leaders of Iran today and she does not

h o w what to tell them. The families need to be compensated because they have all had serious

problems.

       MS. DONNA BELMER, the' decedent's sister, testified that she resides in Northlake,

Illinois, and was born in 1959. Alvin Belmer was Donna's oldest brother. We would always help




                                           Page 20 of 25
          Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 21 of 25




everyone he could. Alvin loved the Marine Corps. Donna Belrner saw her brother shortly before

he went to Beirut, Lebanon. The visit was at their parents' house.

         Donna Belmer read the letters Alvin sent to their mother, Luddie. Donna was lucky to

speak to her brother one week before he died. Donna remembers hearing that her brother was in

the hospital and that they were first told he was in fair condition. Then they were told he was on

life support and that they should all pray for him. Next she heard Alvin's wife, Faye, say that he

had died.

         Donna was living at home with her parents at the time of her brother's death. She knows

first hand how the loss affected them and continues to until the present time. Denise was also

living with their parents at the time. The death of Alvin took a terrible toll on Donna's mother for

many years. Donna Belmer remembers her mother just pacing uncontrollably. Luddie Belmer did

not sleep after the death of Alvin. Even though Donna's father is a man of few words the death of

Alvin had a serious effect on her father. Donna had to keep her feelings inside to protect her

parents. All the siblings tried to be strong because of how the death affected their mother. Her two

brothers, Clarence and Kenneth, were closest to Alvin and most affected. Donna was also deeply

affected by the loss. Donna Belmer became more and more quiet and withdrawn since the loss of

her brother.

         Donna went to view her brother's body in the casket with Faye Belmer and her Aunt but did

not go to the funeral. Donna did go to view her brother's body two or three other times with other

relatives.

         Alvin Belmer's death deeply affected Donna. She is not outgoing and keeps to herself She

finds she has a hard time coping.   She does not recall her parents ever talhng about her brother's
death.




                                            Page 21 of 25
          Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 22 of 25




       Donna Belmer would like to tell Iran that you cannot bring a person back and that she does

not believe that justice can ever be done here.

       MS. DENISE BELMER, the decedent's sister, she was born May 5, 1960, she testified

that she lives in Aurora, Illinois and is six years younger than Alvin Belmer, the youngest sister.

Denise Belmer attended Austin High School. Denise Belmer has two Children. Denise Belrner is

employed at Countrywide Home Loans. Denise Belmer did not finish high school but &d obtain

her GED years later.

        Denise Belmer was the youngest child. Brother Clarence was the closest with Alvin. Alvin

was fun and outgoing person. The family went to Adventureland often, the movies, and visited

family. They played in the yard and spend much of the time together.

        At the time of the bombing Denise had just moved out of the family home and was living in

the neighborhood and visited her mother everyday. Her daughter was in school and she was four

almost five months pregnant with her son. Denise heard on the television that there had been a

bombing. Denise went to her mother's house and her mother said she received a phone call fiom

Alvin's wife, Faye. Denise knew her brother Alvin was in the building. When Denise arrived at

her mother's house and her mother, Luddie, was very quiet. The first they heard was from a

telephone call saying that Alvin was missing. Denise was thinking Alvin was a tough guy and he

was still alive. Luddie was having a tough time so the children did not speak of it with their
mother. Denise and her siblings talked together. No one would say anything in the house. They

were scared. They believed he was alive. Three or four days later they found Alvin and he was

alive but unconscious. If anyone knew they did not tell Denise the extent of the injuries. After

Alvin died they were told he had a fi-acturedskull.




                                             Page 22 of 25
          Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 23 of 25




       About the fourth day Denise recalls that she went to her mother's house and was told,

"Alvin died today." Denise could not believe it. She wondered how he died. She wondered if he

was all crushed up. Alvin Belmer always said Marines were tough guys. Denise Belmer was

deeply affected because her unborn child would never see his Uncle.
       Denise Belmer saw her brother's body for the first time at the funeral. Denise and her

siblings were all trying to be strong for their mother and Alvin's wife, Faye. Her father, Alue

Belmer, to this day, has never expressed how he felt about Alvin. Alue Belmer never even spoke to

his wife, Luddie, about Alvin's death. Both parents still have a lot a grief inside because they never

discussed it.

       Denise attended the funeral. The pain is as strong today as when it happened. The family

has finally discussed Alvin's death. At the time, Luddie Belmer had a nervous breakdown and was

unable to work for about nine months. Luddie took down all Alvin's pictures. Denise and her

siblings could not discuss things with Alvin's wife either. Everythng is all bottled up after all

these years.

        Denise Belmer has discussed her brother, Alvin, with her children.             Her daughter

remembers her Uncle Alvin a little. Denise misses her brother all the time.

        Denise attended the liability hearing in this case and some memorial services when she

could afford to travel.

        Denise's son never met his uncle. Her grandbabies will never know their uncle. Denise

wonders what her life would be if he were here. He died at such an early age that they did not have

time with him. In the last letter Alvin wrote to his mother he described his situation as that they

were like sitting ducks. It was not a sad letter. He said he would be all right and coming home.




                                             Page 23 of 25
         Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 24 of 25




       Denise Belmer wants to ask Iran "why?' By taking one person out of so many families you

ruin all those families. They planned it and they just get away with it and they are still doing it. No

one is holding them accountable. They need to pay for what they did. They planned it and must be

held accountable. You cannot just take lives like they did and get away with it.




                                    CONCLUSIONS OF LAW

        (1) Wrongful Death.

        The Plaintiffs produced comprehensive testimony &om Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for t h ~ element
                                                        s       of damages for the Estate of Alvin

Burton Belmer in the amount of $884.746.00.

        (2) Survival Action - Pain And Suffering.

        There is evidence of pain and suffering endured by the decedent fiom the point of injury to

his death 7 days and 20 hours days (188 hours) later. The Special Master concludes as a matter of

law that judgment should be entered for this element of damages for the Estate of Alvin Burton

Belmer in the amount of $15,000,000.00.

        (3) Solatium.

        The Foreign Sovereign Immunities Act provides for an award for solatiurn consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

andfor their agents. As the Court noted in the Flatow case, id., this is an item of damages which
belongs to the individual heir personally for injury to the feelings and loss of decedent's comfort




                                             Page 24 of 25
           Case 1:01-cv-02094-RCL Document 145 Filed 06/21/06 Page 25 of 25




and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those lefi behind. In ths case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Alue Belmer (father) - $10,000,000.00;

Luddie Belmer (mother) - $10,000,000.00; Annette Belmer (sister) - $5,000,000.00; Donna Belmer

(sister)   -   $5,000,000.00; Denise Belrner   -   $5,000,000.00; Kenneth Belmer (brother)    -
$6,000,000.00; Clarence Belmer (brother) - $6,000,000.00; Faye Belmer (wife) - $10,000,000.00;

and Colby Keith Belmer (son) - $10,000,000.00.




Date: May 25,2006




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                                          Page 25 of 25
